UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                               12/18/2019

LARAINE MARTIN,
                                                Plaintiff,                    ORDER SCHEDULING
                                                                              SETTLEMENT CONFERENCE
                             -against-
                                                                              19-CV-3635 (VEC)
PORT AUTHORITY TRANS-HUDSON
CORPORATION,

                                                Defendant.

-----------------------------------------------------------------X
KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

         A settlement conference in this matter is scheduled for Thursday, February 20, 2020 at

10:00 a.m. in Courtroom 17-D, United States Courthouse, 500 Pearl Street, New York, New

York. Parties must attend in-person with their counsel. Corporate parties must send the

person with decision making authority to settle the matter to the conference. The parties are

instructed to complete the Settlement Conference Summary Report and prepare pre-

conference submissions in accordance with the Judge Parker’s Individual Rules of Practice. Pre-

conference submissions must be received by the Court no later than Thursday, February 13,

2020 by 5:00 p.m.

         SO ORDERED.

Dated: December 18, 2019
       New York, New York

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
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